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 L A W R E N C E A . D U B I N *§                                                                         * MEMBER OF NY BAR
 E D G A R L . FA N K B O N N E R *                                                                       § MEMBER OF NJ BAR




                                                                                                     April 4, 2025

 Hon. Natasha C. Merle
 U.S. District Court for the
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, NY 11201


                                                   Re:          Correa v. Escobar Restrepo
                                                                Civ. No. 24-7951 (EDNY)

 Dear Judge Merle:

          My firm represents Juliana Escobar Restrepo (“Ms. Escobar”), the respondent in the
 above-referenced Hague Convention matter. As the Court is aware, a bench trial was conducted
 in late February, and the Court subsequently entered its Findings of Fact and Conclusions of
 Law, granting the Petition and ordering the subject child’s return to Colombia.

         Ms. Escobar intends to appeal the Court’s decision and is seeking counsel to represent her
 before the U.S. Court of Appeals for the Second Circuit. (My understanding is that we will not be
 representing her.) Ms. Escobar respectfully requests that the Court stay proceedings to allow Ms.
 Escobar Restrepo to exercise her right to appellate review. We have conferred with counsel for
 Petitioner, who opposes a stay.

         To determine a stay application, the Court should consider four factors: “(1) whether the
 applicant has made a strong showing that he is likely to succeed on the merits; (2) whether the
 applicant will be irreparably injured absent a stay; (3) whether issuance of the stay will
 substantially injure the other parties interested in the proceeding; and (4) where the public
 interest lies.” Chafin v. Chafin, 568 U.S. 165, 179 (2013) (quoting Nken v. Holder, 556 U.S. 418,
 434 (2009)). “To satisfy the ‘success on the merits’ factor, the moving party must show that his
 chance of success on the merits is more than a ‘mere possibility.’” DiMartile v. Hochul, 80 F.4th
 443, 456 (2d Cir. 2023). “In every case under the Hague Convention, the well-being of a child is
 at stake; application of the traditional stay factors ensures that each case will receive the
 individualized treatment necessary for appropriate consideration of the child’s best interests.”
 Chafin v. Chiafin, 568 U.S. at 179.


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         The specific contours of Ms. Escobar’s appeal are to be determined by her appellate
 counsel. We can only offer our view of some of the issues Ms. Escobar will likely raise on
 appeal. We anticipate that the appeal will turn in part on the Court’s findings with respect to the
 credibility of Petitioner’s testimony and the testimony of his witness, parenting counselor
 Elizabeth Gomez.

         Petitioner admitted on cross-examination that he signed and filed with this Court a sworn
 verification of the factual allegations contained in his Complaint, knowing that some of those
 pleadings were false. Petitioner further admitted that he caused pleadings to be filed in his name
 in New Jersey Superior Court for Hudson County which falsely claimed that he is a resident of
 New Jersey and that Ms. Escobar was then resident in New York. The Court found that Petitioner
 was not credible when he testified under oath that Ms. Escobar Restrepo’s January 2024 trip to
 the United States was “exploratory” and not meant to be permanent. The Court nonetheless
 credited Petitioner’s self-serving claim that his consent to the child’s relocation to the United
 States was conditional, that he communicated those conditions to Ms. Escobar, and that Ms.
 Escobar violated those conditions. The Court did not consider it significant that Petitioner made
 no mention of those supposed conditions in his original pleadings, which instead alleged that
 “[i]n January 2024, Ms. Escobar decided she wanted to temporarily move to Florida with the
 [c]hild and expressed her desire to [Petitioner].” ECF 1 at *3. A discrepancy such as this could
 perhaps be dismissed as inconsequential, as a matter of attorney strategy, were it not for the fact
 that Petitioner personally verified and swore to the truth of the allegations contained in the
 Complaint. ECF 1 at *12.

         The Court also found “the majority” of Ms. Gomez’s corroborating testimony to be
 credible, and was silent with respect to evidence in the record that compromised her credibility.
 It was evident that Ms. Gomez was reciting from memory (or reading from an off-camera
 document) specific dates and facts that were favorable to Petitioner’s cause, but claimed on
 cross-examination that she could not remember any facts or dates that were potentially favorable
 to Ms. Escobar. She repeatedly made unsolicited remarks as to her concerns for the child’s well-
 being, repeated statements that Ms. Escobar Restrepo made to her confidentially in the course of
 the parties’ therapy sessions with her, and admitted on cross-examination that Petitioner gave her
 money to testify on his behalf.

        Finding these witnesses to be credible, the Court concluded that Mr. Correa had set two
 conditions for the child’s removal to the United States: (1) the child was to live in Florida, not
 New York; and (2) the child was to travel to Colombia in May. We anticipate that Ms. Escobar’s
 appeal will argue that this finding is unsupported by credible evidence in the record.




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          Based on these findings, the Court concluded that the parties did not have a shared and
 settled intent to change the child’s habitual residence to Florida or New York. The Court further
 found that the child had insufficient time to acclimatize to the United States between January and
 May of 2024. Therefore, the Court concluded, the child’s place of habitual residence at the
 relevant times was Colombia, and therefore her retention of the child in May 2024 was unlawful.

          In support of its decision with respect to acclimatization, the Court relied in part on
 Papakosmas v. Papakosmas, 483 F.3d 617 (9th Cir. 2007) and Sundberg v. Bailey, 293 F. Supp.
 3d 548 (W.D.N.C. 2017), aff’d, 765 F. App’x 910 (4th Cir. 2019), neither of which is controlling
 in this jurisdiction. In particular, the Court relied on Sundberg in support of its conclusion that a
 four-year-old child is “not of an age where [he is] strongly attached to any particular school or
 social environment.” There is no evidence in the record of the instant proceedings to support this
 conclusion; there is certainly no expert testimony on what is ultimately a question of child
 development and psychology and therefore properly the purview of an expert in those fields.

         Ms. Escobar has more than a “mere possibility” of success litigating these issues on
 appeal. The other three factors also weigh in favor of a stay. Absent a stay, Ms. Escobar and the
 child will be harmed in that the child, a U.S. citizen by birth, will be removed to Colombia and
 Petitioner may refuse to authorize the child’s return to the U.S., irrespective of Ms. Escobar’s
 success on appeal. On the other hand, Petitioner will not be substantially harmed if the Court
 grants a stay because Petitioner, a United States citizen, can and does exercise his custodial rights
 fully in the United States. The public interest is served if Ms. Escobar is allowed to exercise her
 appellate rights and if this matter is duly adjudicated by an appellate court. This matter was
 plainly not a classic abduction case, as Petitioner’s counsel alleged in his summation: Petitioner
 acknowledges, at a minimum, that he consented to the child traveling to the United States with
 Ms. Escobar, and that he visited the child multiple times in the U.S. prior to commencing this
 action. Nor does the evidence unambiguously prove that the parties entered into a formal
 agreement as to the child’s place of residence in the United States. There is no reason to believe
 that the child or the parties will suffer harm if the child remains in the U.S. while Ms. Escobar
 seeks appellate review.

       For the foregoing reasons, we respectfully request that the Court enter a stay to allow Ms.
 Escobar to retain appellate counsel and pursue relief in the Second Circuit.

                                                               Respectfully submitted,


                                                               /s/ Edgar Loy Fankbonner
                                                               Edgar Loy Fankbonner




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                                   CERTIFICATE OF SERVICE

         I certify that I caused a true and correct copy of the foregoing submission to be served
 upon the following parties by uploading a true and correct copy thereof to the Court’s ECF
 portal:

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 Dated: New York, New York
        April 4, 2025                                         /s/ Edgar Loy Fankbonner
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